953 F.2d 1386
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Patrick W. FOLK, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 90-35574.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Jan. 6, 1992.Decided Jan. 30, 1992.
    
      1
      Before EUGENE A. WRIGHT, WILLIAM A. NORRIS and CYNTHIA HOLCOMB HALL, Circuit Judges
    
    ORDER
    
      2
      For the reasons stated in the Order of the District Court, the judgment is AFFIRMED.
    
    